  DEPARTMENT OF CORRECTIONS                                                                                    WISCONSIN
  Department of Adult Institutions                                                                       Administrative Code
  DOC-410 (Rev. 04/18)                                                                                     Chapter DOC 310


                                                 ICE RECEIPT
                                     COMPLAINT NUMBER OSCI-2021-4619
                                        * * * ICRS CONFIDENTIAL * * *

      To: BROWN, LEE A. - #385934
          UNIT: _WN1 -- W092_U
          OSHKOSH CORRECTIONAL INSTITUTION
          PO Box 3310
          OSHKOSH, WI 54903-3310



      Complaint Information:
         Date Complaint Acknowledged:     03/24/2021
         Date Complaint Received:         03/24/2021
         Subject of Complaint:         12 - Other

         Brief Summary:                Moved to top bunk

         This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
         the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
         complaint will be made and submitted to the appropriate reviewing authority within 30 days of
         acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
         receipt of the recommendation unless extended for cause.
              Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: March 24,Case
                     2021 2:21-cv-00542-BHL         Filed  07/18/24
                                                            Page 1 of 1  Page 1 of 22      Institution Complaint
                                                                                        Document       65-2 Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                                                     Exhibit 1002 - 001
   DEPARTMENT OF CORRECTIONS                                                                                          WISCONSIN
   Department of Adult Institutions                                                                             Administrative Code
   DOC-401 (Rev. 04/18)                                                                                           Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER OSCI-2021-4619
                                         * * * ICRS CONFIDENTIAL * * *

        To: BROWN, LEE A. - #385934
            UNIT: _WN1 -- W092_U
            OSHKOSH CORRECTIONAL INSTITUTION
            PO Box 3310
            OSHKOSH, WI 54903-3310




        Complaint Information:
           Date Complaint Acknowledged: 03/24/2021                                         Inmate Contacted? No

           Date Complaint Received:      03/24/2021
           Subject of Complaint:         12 - Other

           Document(s) Relied Upon:      WICS
                                         DOC-3758

           Brief Summary:                Moved to top bunk

           Summary of Facts:             TG Lee Brown complains that he was moved from R-Building to W-Building
                                         to a cell on a top bunk. Mr. Brown further states that he told the Officers on W-
                                         Building that he is not to be on a top bunk. He says that he has also been seen
                                         by the Health Services Unit (HSU) as well as a Physical Therapist. Mr. Brown
                                         states that the Officers and medical staff are aware that climbing causes him
                                         extreme pain every time he climbs up and down the ladder. He says that he is
                                         subjected to suffering from the pain climbing on or off his bunk causes. Mr.
                                         Brown lists the date of incident as 03/18/21, signed this complaint on 03/18/21,
                                         and this complaint was received in the Oshkosh Correctional Institution (OSCI)
                                         Institution Complaint Examiner (ICE) Office on 03/24/21.

                                         A review of the Wisconsin Integrated Corrections System (WICS) shows that
                                         Mr. Brown does not have an active low bunk restriction. In the special handling
                                         summary on WICS it shows that Mr. Brown was denied a low bunk restriction
                                         by the Special Needs Committee (SNC) on 03/30/21.

                                         The issue of this complaint is reduced to Mr. Brown's version of events against
                                         the documentation in WICS showing no restriction for a low bunk. Lacking any
                                         other credible evidence, the ICE is placed in the position of having to speculate
                                         and that would be improper when making a recommendation to the Reviewing
                                         Authority.

                                         Regardless of whose version of events is accurate, in reviewing this complaint
                                         the ICE finds no information that would support any staff misconduct or work
                                         rule violations on the part of W-Building staff or HSU. Mr. Brown simply
                                         disagrees with being placed in a top bunk - but this does not warrant an
                                         investigation by the ICE unless staff misconduct is alleged and such is not the
                                         case in this circumstance.

                                         Mr. Brown is advised that the procedure for obtaining a different cell is to be
Print Date: April 23, 2021                                 Page 1 of 2                           Institution Complaint Examiner's Office
                     Case 2:21-cv-00542-BHL        Filed  07/18/24      Page 2 of 22         Document 65-2
                                                    ** ICRS CONFIDENTIAL **                         Exhibit 1002 - 002
   DEPARTMENT OF CORRECTIONS                                                                                          WISCONSIN
   Department of Adult Institutions                                                                             Administrative Code
   DOC-401 (Rev. 04/18)                                                                                           Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER OSCI-2021-4619
                                         * * * ICRS CONFIDENTIAL * * *

                                         Mr. Brown is advised that the procedure for obtaining a different cell is to be
                                         discussed with unit staff. They make the determination on whether or not to
                                         recommend a change. If their decision is to not recommend a change that is
                                         the way it will be because they are present to do the necessary observation and
                                         investigation. Given this, unit staff, and not the ICE, is in the best position to
                                         make these determinations.

                                         Therefore, dismissal is recommended, as Mr. Brown does not have a low bunk
                                         restriction and W-Building staff would be able to place him in a cell on the top
                                         bunk, which was done on 03/08/21. Through the submission of this complaint,
                                         Mr. Brown's claims will be reviewed by a member of OSCI's Administration.

           ICE Recommendation:           Dismissed

           Recommendation Date:          04/19/2021




                                         T. Gillingham - Institution Complaint Examiner




Print Date: April 23, 2021                                 Page 2 of 2                           Institution Complaint Examiner's Office
                     Case 2:21-cv-00542-BHL        Filed  07/18/24      Page 3 of 22        Document 65-2
                                                    ** ICRS CONFIDENTIAL **                        Exhibit 1002 - 003
   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-403 (Rev. 04/18)                                                                                         Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER OSCI-2021-4619
                                         * * * ICRS CONFIDENTIAL * * *

        To: BROWN, LEE A. - #385934
            UNIT: _WN1 -- W092_U
            OSHKOSH CORRECTIONAL INSTITUTION
            PO Box 3310
            OSHKOSH, WI 54903-3310




        Complaint Information:
           Date Complaint Acknowledged: 03/24/2021
           Date Complaint Received:         03/24/2021
           Subject of Complaint:            12 - Other
           Brief Summary:                   Moved to top bunk
           ICE's Recommendation:            Dismissed
          Reviewer's Decision:              Dismissed

           Decision Date:                   04/23/2021




                                           C. Eplett - Warden

           CC:
                  Distributed via email
                      McGinnis, T
                      Lemke, C

           A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
           decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
           (DOC 310.12, Wis. Adm. Code).




Print Date: April 23, 2021                                    Page 1 of 1                                           Reviewer's Office
                     Case 2:21-cv-00542-BHL           Filed  07/18/24      Page 4 of 22       Document 65-2
                                                       ** ICRS CONFIDENTIAL **                       Exhibit 1002 - 004
  DEPARTMENT OF CORRECTIONS                                                                                          WISCONSIN
  Department of Adult Institutions                                                                             Administrative Code
  DOC-405A (Rev. 04/18)                                                                                          Chapter DOC 310


                                                 CCE RECEIPT
                                     COMPLAINT NUMBER OSCI-2021-4619
                                        * * * ICRS CONFIDENTIAL * * *

      To: BROWN, LEE A. - #385934
          UNIT: _WN2 -- W301_U
          OSHKOSH CORRECTIONAL INSTITUTION
          PO Box 3310
          OSHKOSH, WI 54903-3310




      Complaint Information:
        Date Appeal Acknowledged:         05/03/2021

         Date Appeal Received:            04/30/2021
        Subject of Complaint:             12 - Other

         Brief Summary:                   Moved to top bunk

         Your request for review has been received.

         The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
         Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
         OOS may extend the time for making a decision for cause and upon notice to all interested parties.

         If you do not receive a decision or other notices within that time, you may write directly to:

                                     Secretary of the Department of Corrections
                                     Post Office Box 7925
                                     Madison, WI 53707-7925




Print Date: May 03, 2021
                     Case 2:21-cv-00542-BHL            Filed  07/18/24
                                                               Page 1 of 1  Page 5 of 22         Corrections Complaint
                                                                                               Document      65-2 Examiner's Office
                                                        ** ICRS CONFIDENTIAL **
                                                                                                           Exhibit 1002 - 005
   DEPARTMENT OF CORRECTIONS                                                                                       WISCONSIN
   Department of Adult Institutions                                                                          Administrative Code
   DOC-404 (Rev. 04/18)                                                                                        Chapter DOC 310


                                                  CCE REPORT
                                      COMPLAINT NUMBER OSCI-2021-4619
                                         * * * ICRS CONFIDENTIAL * * *

       To: BROWN, LEE A. - #385934
           UNIT: _WN2 -- W301_U
           OSHKOSH CORRECTIONAL INSTITUTION
           PO Box 3310
           OSHKOSH, WI 54903-3310




       Complaint Information:
          Date Appeal Acknowledged:      05/03/2021
          Date Appeal Received:          04/30/2021
          Subject of Complaint:          12 - Other
          Brief Summary:                 Moved to top bunk
          Method of Disposition:            Review on Record? Yes                               Investigation? No

          Document(s) Relied Upon:       Complaint, SN review, WICS restrictions, appeal

          CCE's Recommendation:          Dismissed
                                         The complainant's request for a lower bunk restriction has been reviewed by
                                         the Special Needs Committee and determined not necessary at this time. The
                                         complainant is encouraged to work with HSU staff to address concerns, and
                                         determine whether further evaluation is necessary.

          Recommendation Date:          05/03/2021




                                         E. Davidson - Corrections Complaint Examiner




Print Date: May 06, 2021                                      Page 1 of 1                    Corrections Complaint Examiner's Office
                    Case 2:21-cv-00542-BHL            Filed  07/18/24      Page 6 of 22    Document 65-2
                                                       ** ICRS CONFIDENTIAL **                    Exhibit 1002 - 006
   DEPARTMENT OF CORRECTIONS                                                                                      WISCONSIN
   Department of Adult Institutions                                                                         Administrative Code
   DOC-403 (Rev. 04/18)                                                                                       Chapter DOC 310


                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER OSCI-2021-4619
                                         * * * ICRS CONFIDENTIAL * * *


       To: BROWN, LEE A. - #385934
           UNIT: _WN2 -- W301_U
           OSHKOSH CORRECTIONAL INSTITUTION
           PO Box 3310
           OSHKOSH, WI 54903-3310




       Complaint Information:
          Date Appeal Acknowledged:       05/03/2021
          Date Appeal Received:           04/30/2021
          Subject of Complaint:           12 - Other
          Brief Summary:                  Moved to top bunk

          OOS Decision:                   Dismissed

          Decision Comments:              The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 05/03/2021 in the above appeal:

                                          The attached Corrections Complaint Examiner's recommendation to DISMISS
                                          this appeal is accepted as the decision of the Secretary.
          Decision Date:                 05/06/2021




                                         C. O'Donnell - Office of the Secretary




Print Date: May 06, 2021                                    Page 1 of 1                                      Office of the Secretary
                    Case 2:21-cv-00542-BHL          Filed  07/18/24      Page 7 of 22      Document 65-2
                                                     ** ICRS CONFIDENTIAL **                      Exhibit 1002 - 007
                                                                                         GENERAL REPORT
                                                                                            OSCI-2021-4619
                                           State of Wisconsin
                                               Department of Corrections
                            GENERAL REPORT ON INMATE COMPLAINT

      Complaint Information:
         Date Complaint Acknowledged:     March 24, 2021
           Date Complaint Received:       March 24, 2021
           Subject of Complaint:       12 - Other

           Brief Summary:              Moved to top bunk

      ICE Recommendation Information:     (Signed on 4/19/21 11:46:25AM):
           Document(s) Relied Upon:    WICS
                                       DOC-3758




Print Date: July 02, 2021
                      Case 2:21-cv-00542-BHL     Filed  07/18/24
                                                         Page 1 of 3 Page 8 of 22   Document 65-2
                                                 ** ICRS CONFIDENTIAL **                   Exhibit 1002 - 008
                                                                                                  GENERAL REPORT
                                                                                                     OSCI-2021-4619
                                             State of Wisconsin
                                               Department of Corrections
                            GENERAL REPORT ON INMATE COMPLAINT

           ICE's Summary of Facts:       TG Lee Brown complains that he was moved from R-Building to W-
                                         Building to a cell on a top bunk. Mr. Brown further states that he told the
                                         Officers on W-Building that he is not to be on a top bunk. He says that he has
                                         also been seen by the Health Services Unit (HSU) as well as a Physical
                                         Therapist. Mr. Brown states that the Officers and medical staff are aware that
                                         climbing causes him extreme pain every time he climbs up and down the
                                         ladder. He says that he is subjected to suffering from the pain climbing on or
                                         off his bunk causes. Mr. Brown lists the date of incident as 03/18/21, signed
                                         this complaint on 03/18/21, and this complaint was received in the Oshkosh
                                         Correctional Institution (OSCI) Institution Complaint Examiner (ICE) Office on
                                         03/24/21.

                                         A review of the Wisconsin Integrated Corrections System (WICS) shows that
                                         Mr. Brown does not have an active low bunk restriction. In the special
                                         handling summary on WICS it shows that Mr. Brown was denied a low bunk
                                         restriction by the Special Needs Committee (SNC) on 03/30/21.

                                         The issue of this complaint is reduced to Mr. Brown's version of events
                                         against the documentation in WICS showing no restriction for a low bunk.
                                         Lacking any other credible evidence, the ICE is placed in the position of
                                         having to speculate and that would be improper when making a
                                         recommendation to the Reviewing Authority.

                                         Regardless of whose version of events is accurate, in reviewing this
                                         complaint the ICE finds no information that would support any staff
                                         misconduct or work rule violations on the part of W-Building staff or HSU. Mr.
                                         Brown simply disagrees with being placed in a top bunk - but this does not
                                         warrant an investigation by the ICE unless staff misconduct is alleged and
                                         such is not the case in this circumstance.

                                         Mr. Brown is advised that the procedure for obtaining a different cell is to be
                                         discussed with unit staff. They make the determination on whether or not to
                                         recommend a change. If their decision is to not recommend a change that is
                                         the way it will be because they are present to do the necessary observation
                                         and investigation. Given this, unit staff, and not the ICE, is in the best
                                         position to make these determinations.

                                         Therefore, dismissal is recommended, as Mr. Brown does not have a low
                                         bunk restriction and W-Building staff would be able to place him in a cell on
                                         the top bunk, which was done on 03/08/21. Through the submission of this
                                         complaint, Mr. Brown's claims will be reviewed by a member of OSCI's
                                         Administration.

           ICE's Recommendation:         Dismissed
           ICE's Recommendation Date: April 19, 2021

      RA's Decision Information:     (Signed on 4/23/21 8:44:45AM):
           RA's Decision:                Dismissed
           RA's Decision Date:           April 23, 2021

Print Date: July 02, 2021
                      Case 2:21-cv-00542-BHL     Filed  07/18/24
                                                         Page 2 of 3 Page 9 of 22         Document 65-2
                                                 ** ICRS CONFIDENTIAL **                         Exhibit 1002 - 009
                                                                                                  GENERAL REPORT
                                                                                                     OSCI-2021-4619
                                              State of Wisconsin
                                               Department of Corrections
                            GENERAL REPORT ON INMATE COMPLAINT

      Appeal to CCE Information:
           Date Appeal Acknowledged:      May 03, 2021
           Date Appeal Received:          April 30, 2021

      CCE's Recommendation Information:        (Signed on 5/3/21 11:36:28AM):
           Document(s) Relied Upon:       Complaint, SN review, WICS restrictions, appeal
           CCE's Summary:                 The complainant's request for a lower bunk restriction has been reviewed by
                                          the Special Needs Committee and determined not necessary at this time.
                                          The complainant is encouraged to work with HSU staff to address concerns,
                                          and determine whether further evaluation is necessary.

           CCE's Recommendation:          Dismissed
           CCE's Recommendation Date: May 03, 2021

      OOS' Decision Information:      (Signed on 5/6/21 12:49:03PM):
           OOS' Summary:                  The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 05/03/2021 in the above appeal:

                                          The attached Corrections Complaint Examiner's recommendation to
                                          DISMISS this appeal is accepted as the decision of the Secretary.

           OOS' Decision:                 Dismissed
           OOS' Decision Date:            May 06, 2021




Print Date: July 02, 2021
                     Case 2:21-cv-00542-BHL      Filed  07/18/24
                                                          Page 3 of 3 Page 10 of 22         Document 65-2
                                                  ** ICRS CONFIDENTIAL **                         Exhibit 1002 - 010
                                                                State of Wisconsin
                                                                  Department of Corrections

                                                            DISTRIBUTION ITEMS
                                                    for COMPLAINT NUMBER OSCI-2021-4619
       Item                        Create Date             Created By           Sent To            Inmate ID             Print Date             Printed By
ICE Receipt                 03/24/2021 8:24:28AM    Todd Gillingham           OSCI                   385934       03/24/2021 8:57:19AM    Todd Gillingham
ICE Report                  04/23/2021 8:44:45AM    Cheryl Eplett             OSCI                   385934       04/23/2021 11:12:23AM   Todd Gillingham
RA Report                   04/23/2021 8:44:46AM    Cheryl Eplett             OSCI                   385934       04/23/2021 11:12:23AM   Todd Gillingham
CCE Receipt                 05/03/2021 9:38:58AM    Matthew Greenwood         OSCI                   385934       05/03/2021 11:14:57AM   Todd Gillingham
CCE Report                  05/06/2021 12:49:03PM   Cindy O'Donnell           OSCI                   385934       05/06/2021 3:59:33PM    Todd Gillingham
OOS Report                  05/06/2021 12:49:03PM   Cindy O'Donnell           OSCI                   385934       05/06/2021 3:59:33PM    Todd Gillingham




                                          Case 2:21-cv-00542-BHL         Filed 07/18/24           Page 11 of 22     Document 65-2
Print Date: July 02, 2021                                                      Page 1 of 1                                                   Exhibit 1002 - 011
                                                                        ** ICRS CONFIDENTIAL **
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 12 of 22   Document 65-2
                                                                Exhibit 1002 - 012
DEPARTMENT OF CORRECTIONS                                                                                             WISCONSIN
Division of Adult Institutions
DOC-3758 (Rev. 2/2019)




                    NOTICE OF SPECIAL NEEDS COMMITTEE DECISION
  PATIENT NAME                                                                        DOC NUMBER       DATE        FACILITY
  BROWN, LEE A                _W/N1 W092/_U/C3                                        385934           3/30/2021   OSCI


  From:         SPECIAL NEEDS COMMITTEE

  RE:           SPECIAL NEEDS REQUEST

  This notice serves to inform you that your request for Low Bunk has been reviewed by the facility Special
  Needs Committee

  Your request has been:
                Approved as requested
                Approved with modification(s):
                Approved with time limit:

  Your request has been:

                Denied - Request does not meet criteria as defined in policy.
                Denied - Request is outside the scope of this committee.
                Denied - Other:


  Special Needs Committee Members (print / type name clearly)
  Dr. Murphy                                                              HSAM Fofana
  Dr. Tannan                                                              RN Feltz
  Dr. Wheatley                                                            MPAA Giesler
  NP Bowens                                                               LT Schwebke
  NP Hermes




                  Case 2:21-cv-00542-BHL                  Filed 07/18/24          Page 13 of 22       Document 65-2
  DISTRIBUTION: Original – Internal Paper Record, PR Correspondence Letters Section; Copy – Patient
                                                                                                            Exhibit 1002 - 013
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 14 of 22   Document 65-2
                                                                Exhibit 1002 - 014
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 15 of 22   Document 65-2
                                                                Exhibit 1002 - 015
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 16 of 22   Document 65-2
                                                                Exhibit 1002 - 016
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 17 of 22   Document 65-2
                                                                Exhibit 1002 - 017
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 18 of 22   Document 65-2
                                                                Exhibit 1002 - 018
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 19 of 22   Document 65-2
                                                                Exhibit 1002 - 019
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 20 of 22   Document 65-2
                                                                Exhibit 1002 - 020
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 21 of 22   Document 65-2
                                                                Exhibit 1002 - 021
Case 2:21-cv-00542-BHL   Filed 07/18/24   Page 22 of 22   Document 65-2
                                                                Exhibit 1002 - 022
